                                                              Case 17-19455-MAM           FORM
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                                                                      INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                       ASSET CASES

Case No.:                       17-19455                                                                                                Trustee Name:                             Nicole Testa Mehdipour, Trustee
Case Name:                      CHARIOTS OF PALM BEACH, INC.                                                                            Date Filed (f) or Converted (c):          09/19/2017 (c)
For the Period Ending:          03/31/2018                                                                                              §341(a) Meeting Date:                     10/16/2017
                                                                                                                                        Claims Bar Date:                          01/16/2018
                                    1                                         2                      3                            4                        5                                          6

                       Asset Description                                   Petition/        Estimated Net Value                Property              Sales/Funds                 Asset Fully Administered (FA)/
                        (Scheduled and                                   Unscheduled       (Value Determined by                Abandoned             Received by                Gross Value of Remaining Assets
                   Unscheduled (u) Property)                                Value                 Trustee,               OA =§ 554(a) abandon.        the Estate
                                                                                          Less Liens, Exemptions,
                                                                                             and Other Costs)

Ref. #
1        1822 Upland Road, West Palm Beach, FL                            $1,338,957.00                         $0.00             OA                              $0.00                                           FA
2        Flagler Bank Checking 0397                                           $4,305.97                         $0.00                                             $0.00                                           FA
3        TD Bank Checking 5696                                                    $0.00                    $11,270.95                                      $11,270.95                                             FA
4        Accounts receivable face amount 162,481.76                               $0.00                      Unknown                                              $0.00                                    Unknown
         doubtful or uncollectible accounts 162,481.76
5        Accounts receivable face amount 101,500.00                         $101,500.00                      Unknown                                              $0.00                                    Unknown
         doubtful or uncollectible accounts 0.00
6        Inventory                                                        $7,723,900.00                    $32,544.00                                      $32,544.00                                             FA
7        License Certificate For A Dealer in Franchised                           $0.00                         $0.00                                             $0.00                                           FA
         Motor Vehicles Expires 12/31/2017 Issued by:
         State of Florida Department of Highway Safety
         and Motor Vehicles Division of Motorist
         Services $0.00
8        Resident Insurance License Issued by: Florida                            $0.00                         $0.00                                             $0.00                                           FA
         Department of Financial Services
9        Liability insurance for various scheduled vehicles                   Unknown                           $0.00                                             $0.00                                           FA
         Policy held with: Empire Fire and Marine
         Insurance Co. Policy number ending in L33H
10       Flood Insurance Policy held with: Florida Family                         $0.00                         $0.00                                             $0.00                                           FA
         Insurance Mark S. Horne Agency, Inc. 4010 S.
         57th Street Suite 104A Lake Worth, FL 33463
         Policy number ending in 4792
11       Garage Liability Insurance Policy held with:                             $0.00                         $0.00                                             $0.00                                           FA
         Universal Underwriters Insurance Company
         7045 College Boulevard Overland Park, KS
         66211-1523 Certificate number ending in: 9213
12       Workers Compensation Refund                            (u)               $0.00                     $9,595.44                                          $9,595.44                                          FA
13       Union Bank DIP Acct 2529                               (u)               $0.00                  $1,215,206.00                                  $1,215,206.00                                             FA
14       Tax Refund                                             (u)               $0.00                     $8,962.78                                          $8,962.78                                          FA
14       Anchor Bank Account 2400                               (u)               $0.00                     $3,987.63                                          $3,987.65                                          FA
                                                              Case 17-19455-MAM               FORM
                                                                                            Doc 4871 Filed 04/30/18 Page                                        2 of 6                      Page No:     2
                                                                          INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                           ASSET CASES

Case No.:                      17-19455                                                                                                                       Trustee Name:                              Nicole Testa Mehdipour, Trustee
Case Name:                     CHARIOTS OF PALM BEACH, INC.                                                                                                   Date Filed (f) or Converted (c):           09/19/2017 (c)
For the Period Ending:          03/31/2018                                                                                                                    §341(a) Meeting Date:                      10/16/2017
                                                                                                                                                              Claims Bar Date:                           01/16/2018
                                   1                                                  2                                3                                4                          5                                         6

                      Asset Description                                          Petition/                   Estimated Net Value                   Property                  Sales/Funds                Asset Fully Administered (FA)/
                       (Scheduled and                                          Unscheduled                  (Value Determined by                   Abandoned                 Received by               Gross Value of Remaining Assets
                  Unscheduled (u) Property)                                       Value                            Trustee,                  OA =§ 554(a) abandon.            the Estate
                                                                                                           Less Liens, Exemptions,
                                                                                                              and Other Costs)

15     Unpaid check to Pedro Umanzor (Funds                     (u)                       $0.00                                  $52.27                                                $52.27                                            FA
       remaing in Union Bank)
Asset Notes:     (Funds turned over form Michael Phelan as the check was stale.
16      Cash in drawer at N. Florida Mango Rd                       (u)                   $0.00                                  $34.00                                                $34.00                                            FA
17      IRA Account                                                 (u)                   $0.00                                 $106.56                                                  $0.00                                           FA


TOTALS (Excluding unknown value)                                                                                                                                                                             Gross Value of Remaining Assets
                                                                                $9,168,662.97                              $1,281,759.63                                        $1,281,653.09                                        $0.00



Major Activities affecting case closing:
 03/10/2018     The Trustee has worked with vehicle owners to resolve title and other related ownership issues.


                The Trustee has separately initiated discovery in support of potential avoidance claims directed to (a) persons familiar with the Debtors’ pre-petition and pre-conversion business
                dealings (H. Bate, S. Bate, Phelan, Sharoubim, and Newburgh); and (b) various secured creditors and/or preference targets.


                The Trustee has investigated the entitlement to the Debtors’ cash collateral, pending in the 15th Judicial Circuit for Palm Beach County.
 01/02/2017     Trustee initially focused on securing the building, and its contents, including high end luxury vehicles. Significant time was spent handling complex and time-consuming title issues caused
                by the Debtor pre-filing. This involved communicating with numerous purchasers, the State of Florida and the floor plan financiers regarding titles which had never been issued. Titles
                have been sent out to (or issued) to nearly all bona fide purchasers.


                Trustee has returned nearly all of the vehicles to NextGear or consignors and is working with a financial advisor as to the analysis of the data in order to identify litigation claims, which
                would belong to the estate.


                Trustee is communicating with all secured creditors in working to turn over the buildings, their contents, the remaining 2 vehicles, and cash in the Chariots estate account in the amount of
                $1,274,023.81 and the H&S estate account of $5,289.31 to the proper parties (there are numerous competing interests claimed).


                Finally, the remaining focus of the case is the litigation portion regarding preferences and various transfers. Rule 2004 examinations will be set for Mr. Phelan, Steve Newburgh, Charles
                Sharoubim (the former president of the Debtor) and potentially others that worked at the Debtor.


Initial Projected Date Of Final Report (TFR):            12/31/2019                             Current Projected Date Of Final Report (TFR):                                          /s/ NICOLE TESTA MEHDIPOUR, TRUSTEE
                                                                                                                                                                                       NICOLE TESTA MEHDIPOUR, TRUSTEE
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                                                                                       FORM 2                                                                          Page No: 1
                                                                 CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                       17-19455                                                                                             Trustee Name:                         Nicole Testa Mehdipour, Trustee
Case Name:                     CHARIOTS OF PALM BEACH, INC.                                                                         Bank Name:                            Green Bank
Primary Taxpayer ID #:         **-***0210                                                                                           Checking Acct #:                      ******5501
Co-Debtor Taxpayer ID #:                                                                                                            Account Title:
For Period Beginning:          04/01/2017                                                                                           Blanket bond (per case limit):        $135,654,000.00
For Period Ending:             03/31/2018                                                                                           Separate bond (if applicable):


     1                2                         3                                                   4                                                      5                    6                    7

Transaction      Check /                     Paid to/                       Description of Transaction                                Uniform           Deposit           Disbursement            Balance
   Date           Ref. #                  Received From                                                                              Tran Code            $                    $


09/25/2017           (13)   ESTATE OF CHARIOTS OF PALM              Turnover of funds from M. Phelan (DIP account)                   1229-000        $1,215,206.00                     $0.00       $1,215,206.00
                            BEACH, INC, DEBTOR
09/26/2017                  ESTATE OF H & S INC, DEBTOR             Turnover of funds received from M. Phelan's office               1280-000            $4,300.92                     $0.00       $1,219,506.92
                                                                    from H&S DIP account; Funds wired into wrong
                                                                    account. Motion to disburse funds filed. Per Court
                                                                    Order funds dated 10/17/17; ECF #359 funds turned
                                                                    over to H&S , Inc. 17-19458
09/28/2017                  ESTATE OF H & S INC, DEBTOR             Turnover of funds received from M. Phelan's office               1280-000            $1,003.00                     $0.00       $1,220,509.92
                                                                    from H&S DIP account; Funds wired into wrong
                                                                    account. Motion to disburse funds filed. Per Court
                                                                    Order funds dated 10/17/17; ECF #359 funds are to be
                                                                    turned over to H&S , Inc. 17-19458
09/29/2017                  Green Bank                              Bank Service Fee                                                 2600-000                  $0.00                 $444.62       $1,220,065.30
10/27/2017                  H & S, Inc.                             Per Court Order dated 10/17/17; ECF #359                             *              ($5,303.92)                    $0.00       $1,214,761.38

                                                                    Per Court Order dated 10/17/17; ECF              ($4,300.92)     1280-002                                                      $1,214,761.38
                                                                    #359
                                                                    Per Court Order dated 10/17/17; ECF              ($1,003.00)     1280-002                                                      $1,214,761.38
                                                                    #359
10/31/2017                  Green Bank                              Bank Service Fee                                                 2600-000                  $0.00            $1,905.30          $1,212,856.08
11/03/2017           (14)   United States Treasury                  Turnover of tax refund                                           1224-000            $8,962.78                     $0.00       $1,221,818.86
11/09/2017           (6)    Space Coast Credit Union                Balance for 2014 Porche                                          1129-000           $32,544.00                     $0.00       $1,254,362.86
11/30/2017                  Green Bank                              Bank Service Fee                                                 2600-000                  $0.00            $1,945.19          $1,252,417.67
12/15/2017           (3)    TD Bank                                 Turnover of Funds in Bank Account                                1129-000           $11,270.95                     $0.00       $1,263,688.62
12/29/2017           (14)   Anchor Commerical Bank                  Turnover and closeout of bank account 2400                       1229-000            $3,987.65                     $0.00       $1,267,676.27
12/29/2017                  Green Bank                              Bank Service Fee                                                 2600-000                  $0.00            $2,030.99          $1,265,645.28
01/11/2018           (12)   United Healthcare Svs Inc.              Turnover of refund to Worker's Compensation                      1229-000            $8,378.53                     $0.00       $1,274,023.81



                                                                                                                                    SUBTOTALS          $1,280,349.91                $6,326.10
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                                                                                      FORM 2                                                              Page No: 2
                                                                CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                       17-19455                                                                                 Trustee Name:                        Nicole Testa Mehdipour, Trustee
Case Name:                     CHARIOTS OF PALM BEACH, INC.                                                             Bank Name:                           Green Bank
Primary Taxpayer ID #:         **-***0210                                                                               Checking Acct #:                     ******5501
Co-Debtor Taxpayer ID #:                                                                                                Account Title:
For Period Beginning:          04/01/2017                                                                               Blanket bond (per case limit):       $135,654,000.00
For Period Ending:             03/31/2018                                                                               Separate bond (if applicable):


     1                2                         3                                                   4                                         5                    6                    7

Transaction      Check /                    Paid to/                       Description of Transaction                     Uniform          Deposit           Disbursement            Balance
   Date           Ref. #                 Received From                                                                   Tran Code           $                    $


01/16/2018           3002   FPL                                    Per Court Order dated 01/16/18; ECF #410. Payment     2990-000                 $0.00                 $773.60       $1,273,250.21
                                                                   for past due invoices and a deposit of $326.00.
01/16/2018           3003   FPL                                    Per Court Order dated 01/16/18; ECF #410. Payment     2990-000                 $0.00                 $151.40       $1,273,098.81
                                                                   for past due invoices and a deposit of $59.00
01/16/2018           3004   FPL                                    Per Court Order dated 01/16/18; ECF #410. Payment     2990-000                 $0.00                 $945.87       $1,272,152.94
                                                                   for past due invoices and a deposit of $566.00.
01/31/2018                  Green Bank                             Bank Service Fee                                      2600-000                 $0.00            $2,049.54          $1,270,103.40
02/05/2018           (15)   Michael Phelan, Trustee                Turnover of Funds from M. Phelan for outstanding      1290-000              $52.27                     $0.00       $1,270,155.67
                                                                   check (stale check)
02/09/2018           3005   FPL                                    Per Court Order dated 01/16/18; ECF #410              2990-000                 $0.00                 $125.17       $1,270,030.50
                                                                   Account #14680-64355
02/09/2018           3006   FPL                                    Per Court Order dated 01/16/18; ECF #410              2990-000                 $0.00                  $35.75       $1,269,994.75
                                                                   Account #45525-02041
02/09/2018           3007   FPL                                    Per Court Order dated 01/16/18; ECF #410              2990-000                 $0.00                 $117.51       $1,269,877.24
                                                                   Account #06635-87129
02/14/2018           (16)   Cash                                   $34.00 (in quarters retrieved from premises)          1229-000              $34.00                     $0.00       $1,269,911.24
02/21/2018           (12)   United Healthcare Svs Inc.             Turnover of refund to Worker's Compensation           1229-000           $1,216.91                     $0.00       $1,271,128.15
02/28/2018                  Green Bank                             Bank Service Fee                                      2600-000                 $0.00            $1,851.57          $1,269,276.58
03/13/2018                  FPL                                    Turnover of Dep refund #4593812 (Balance after        2990-000                 $0.00                ($160.47)      $1,269,437.05
                                                                   months charges)
03/13/2018                  FPL                                    Turnover of Dep refund #5775991 (Balance after        2990-000                 $0.00                 ($28.25)      $1,269,465.30
                                                                   months charges)
03/13/2018                  FPL                                    Turnover of Dep refund #5775991 (Balance after        2990-000                 $0.00                ($359.86)      $1,269,825.16
                                                                   months charges)
03/30/2018                  Green Bank                             Bank Service Fee                                      2600-000                 $0.00            $2,114.82          $1,267,710.34




                                                                                                                        SUBTOTALS            $1,303.18                 $7,616.65
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                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        17-19455                                                                                         Trustee Name:                         Nicole Testa Mehdipour, Trustee
Case Name:                      CHARIOTS OF PALM BEACH, INC.                                                                     Bank Name:                            Green Bank
Primary Taxpayer ID #:          **-***0210                                                                                       Checking Acct #:                      ******5501
Co-Debtor Taxpayer ID #:                                                                                                         Account Title:
For Period Beginning:           04/01/2017                                                                                       Blanket bond (per case limit):        $135,654,000.00
For Period Ending:              03/31/2018                                                                                       Separate bond (if applicable):


    1                2                          3                                                    4                                                   5                   6                    7

Transaction      Check /                     Paid to/                        Description of Transaction                           Uniform           Deposit            Disbursement            Balance
   Date           Ref. #                  Received From                                                                          Tran Code            $                     $



                                                                                      TOTALS:                                                       $1,281,653.09                $13,942.75      $1,267,710.34
                                                                                          Less: Bank transfers/CDs                                          $0.00                     $0.00
                                                                                      Subtotal                                                      $1,281,653.09                $13,942.75
                                                                                          Less: Payments to debtors                                         $0.00                     $0.00
                                                                                      Net                                                           $1,281,653.09                $13,942.75




                     For the period of 04/01/2017 to 03/31/2018                                                 For the entire history of the account between 09/20/2017 to 3/31/2018

                     Total Compensable Receipts:                    $1,281,653.09                               Total Compensable Receipts:                              $1,281,653.09
                     Total Non-Compensable Receipts:                        $0.00                               Total Non-Compensable Receipts:                                  $0.00
                     Total Comp/Non Comp Receipts:                  $1,281,653.09                               Total Comp/Non Comp Receipts:                            $1,281,653.09
                     Total Internal/Transfer Receipts:                      $0.00                               Total Internal/Transfer Receipts:                                $0.00


                     Total Compensable Disbursements:                 $13,942.75                                Total Compensable Disbursements:                            $13,942.75
                     Total Non-Compensable Disbursements:                  $0.00                                Total Non-Compensable Disbursements:                             $0.00
                     Total Comp/Non Comp Disbursements:               $13,942.75                                Total Comp/Non Comp Disbursements:                          $13,942.75
                     Total Internal/Transfer Disbursements:                $0.00                                Total Internal/Transfer Disbursements:                           $0.00
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                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        17-19455                                                                                      Trustee Name:                         Nicole Testa Mehdipour, Trustee
Case Name:                      CHARIOTS OF PALM BEACH, INC.                                                                  Bank Name:                            Green Bank
Primary Taxpayer ID #:          **-***0210                                                                                    Checking Acct #:                      ******5501
Co-Debtor Taxpayer ID #:                                                                                                      Account Title:
For Period Beginning:           04/01/2017                                                                                    Blanket bond (per case limit):        $135,654,000.00
For Period Ending:              03/31/2018                                                                                    Separate bond (if applicable):


    1                2                           3                                                    4                                             5                     6                    7

Transaction      Check /                     Paid to/                         Description of Transaction                        Uniform           Deposit           Disbursement            Balance
   Date           Ref. #                  Received From                                                                        Tran Code            $                    $


                                                                                                                                                                              NET               ACCOUNT
                                                                                       TOTAL - ALL ACCOUNTS                              NET DEPOSITS                    DISBURSE              BALANCES

                                                                                                                                                $1,281,653.09           $13,942.75           $1,267,710.34




                     For the period of 04/01/2017 to 03/31/2018                                               For the entire history of the account between 09/20/2017 to 3/31/2018

                     Total Compensable Receipts:                    $1,281,653.09                          Total Compensable Receipts:                               $1,281,653.09
                     Total Non-Compensable Receipts:                        $0.00                          Total Non-Compensable Receipts:                                   $0.00
                     Total Comp/Non Comp Receipts:                  $1,281,653.09                          Total Comp/Non Comp Receipts:                             $1,281,653.09
                     Total Internal/Transfer Receipts:                      $0.00                          Total Internal/Transfer Receipts:                                 $0.00


                     Total Compensable Disbursements:                 $13,942.75                           Total Compensable Disbursements:                             $13,942.75
                     Total Non-Compensable Disbursements:                  $0.00                           Total Non-Compensable Disbursements:                              $0.00
                     Total Comp/Non Comp Disbursements:               $13,942.75                           Total Comp/Non Comp Disbursements:                           $13,942.75
                     Total Internal/Transfer Disbursements:                $0.00                           Total Internal/Transfer Disbursements:                            $0.00




                                                                                                                                               /s/ NICOLE TESTA MEHDIPOUR, TRUSTEE
                                                                                                                                               NICOLE TESTA MEHDIPOUR, TRUSTEE
